                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:10-CR-00238-RJC
USA                                              )
                                                 )
   v.                                            )                    ORDER
                                                 )
WILLIAM PIERCE                                   )
                                                 )

        THIS MATTER is before the Court on the defendant’s Motion to Exonerate Bond,

(Doc. No. 624), to which the government has not objected.

        The defendant was arrested in the Central District of California and posted an appearance

bond of $50,000, secured by his grandparent’s home. (Doc. No. 290: Rule 5(c)(3) Documents at

2). The defendant was detained upon entry of his plea based on the nature of the conviction.

(Oral Order, December 1, 2011). The Court remanded the defendant to the custody of the United

States Marshal at his sentencing. (Doc. No. 582: Judgment at 2), and there is no longer any need

for a bond to insure the defendant’s appearance in this case.

        IT IS, THEREFORE, ORDERED that the defendant’s bond be exonerated.

                                                       Signed: October 1, 2013




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